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12
                          UNITED STATES DISTRICT COURT
13
                         CENTRAL DISTRICT OF CALIFORNIA
14
15
      MACOM TECHNOLOGY                          Case No. CV16-02859-CAS (GJSx)
16    SOLUTIONS HOLDINGS, INC., a
      Delaware corporation, and                 JOINT REPORT REGARDING
17    NITRONEX, LLC, a Delaware limited         TRIAL
      liability company,
18
                        Plaintiffs,
19
            v.
20
      INFINEON TECHNOLOGIES AG, a
21    corporation organized under the laws of
      Germany, and INFINEON
22    TECHNOLOGIES AMERICAS
      CORP., a Delaware corporation,
23
                        Defendants.
24                                              Hon. Christina A. Snyder
25
26
27
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 1         Pursuant to the Court’s order dated July 24, 2018 (Dkt. 603), Plaintiffs
 2   MACOM Technology Solutions Holdings, Inc. and Nitronex, LLC (collectively,
 3   “MACOM” or “Plaintiffs”) and Defendants Infineon Technologies Americas Corp.
 4   (“Infineon Americas”) and Infineon Technologies AG (“Infineon AG”)
 5   (collectively, “Defendants”) respectfully submit the following Joint Report.
 6   A.    Pending Claims And Areas Of Agreement
 7         The following claims are pending and have not been stayed:
 8             MACOM’s First Claim – Breach of Contract (Wrongful Termination
 9              of 2010 License Agreement) Against Infineon Americas;

10             MACOM’s Second Claim – Breach of Contract (Marketing and
                Preparations for Sale of GaN-on-Si Products within MACOM’s
11              Exclusive Field of the 2010 License Agreement; Transfer of GaN-on-
                Si Activities to Affiliates) Against Infineon Americas;
12
               MACOM’s Third Claim – Declaratory Judgment (2010 License
13              Agreement Not Terminated) Against Infineon Americas;
14
               MACOM’s Fourth Claim – Breach of Covenant of Good Faith and
15              Fair Dealing (2010 License and IP Purchase Agreements) Against
                Infineon Americas;
16
               MACOM’s Sixth Claim – Breach of Contract (Breach of 2010 IP
17              Purchase Agreement) Against Infineon Americas;
18             MACOM’s Seventh Claim – Declaratory Judgment (No Sale of
19              Nitronex Patents By Infineon Americas) Against Infineon Americas;
20             MACOM’s Eighth Claim – Intentional Interference With Contractual
                Relations Against Infineon AG;
21
               MACOM’s Ninth Claim – Unfair Competition in Violation of
22              California Business and Professions Code §17200 et seq. Against
23              Infineon AG;

24             Infineon Americas’ Third Counterclaim – Breach of the 2010 License
                Agreement; and
25
               Infineon Americas’ Fourth Counterclaim – Declaratory Judgment of
26              Termination of the 2010 License Agreement.
27   See Dkt. 583 (MACOM’s Fourth Amended Complaint); Dkt. 454-1 (Infineon
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 1   Americas’ Counterclaims).
 2          The parties agree that the following claims are stayed by stipulation of the
 3   parties until after resolution of MACOM’s First and/or Third Claims:
 4              MACOM’s Fifth Claim – Declaratory Judgment of Noninfringement
 5               for MACOM’s GaN-on-Si Products Against Infineon Americas;

 6              Infineon Americas’ First Counterclaim – Patent Infringement by
                 MACOM’s GaN-on-SiC products; and
 7
                Infineon Americas’ Second Counterclaim – Patent Infringement by
 8               MACOM’s GaN-on-Si Products.
 9   See Dkt. 366 (staying MACOM’s Fifth Claim and Infineon’s Second
10   Counterclaim); Dkt. 509 (staying Infineon’s First Counterclaim).1
11          The parties also agree that the following contract claims between MACOM
12   and Infineon Americas shall be tried to the Court, without a jury, because MACOM
13   and Infineon Americas by agreement waived the right to a jury for these claims:
14   MACOM’s First, Second, Third, Fourth, Sixth, and Seventh Claims and Infineon
15   Americas’ Third and Fourth Counterclaims.            See Dkt. 583-1 (IP Purchase
16   Agreement) at §12.02; Dkt. 583-2 (License Agreement) at §10.10. Specifically, the
17   2010 IP Purchase Agreement and License Agreement between Infineon Americas
18   and MACOM provides:
19
20
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     1
24       MACOM agreed to stay these claims because of the likelihood that they will be
         mooted or resolved by decisions on the claims to be resolved first. For instance,
25       if the License Agreement has not been terminated and is in effect, then MACOM’s
         GaN-on-Si products do not infringe.
26   2
         See Dkt. 583-1 (IP Purchase Agreement) at §12.02. The word “License” appears
27       in the License Agreement and the “l” in “law” is capitalized in the License
         Agreement. The jury waivers are otherwise identical. See Dkt. 583-2 (License
28       Agreement) at §10.10.
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 1         The parties also agree that MACOM’s Ninth Claim for Relief for Unfair
 2   Competition against Infineon AG shall be tried to the Court, without a jury, because
 3   that claim is equitable.
 4   B.    MACOM’s Position
 5         That leaves only one claim: MACOM’s Eighth Claim against Infineon AG
 6   for Intentional Interference.
 7         MACOM has a constitutional right to a jury trial for this tort claim. The
 8   Seventh Amendment provides, “In Suits at common law, where the value in
 9   controversy shall exceed twenty dollars, the right of trial by jury shall be preserved
10   …” This includes claims in tort. See, e.g., Ross v. Bernhard, 396 U.S. 531, 533
11   (1970) (“The Seventh Amendment entitle[s] the parties to a jury trial in actions for
12   damages to a person or property ....”).
13         This Court has held that, because Infineon AG is not a signatory to the 2010
14   IP Purchase and License Agreements, it is not subject to contract claims based on
15   those agreements. See, e.g., Dkt. 141 at 24. It necessarily follows that MACOM
16   cannot have and has not waived its right to a jury for the tort claims that it asserts
17   against Infineon AG. This is the entire reason that only tort claims, and not contract
18   claims, are currently proceeding against Infineon AG. MACOM has demanded a
19   jury on those tort claims (Dkt. 583 at 74), and it is entitled to one.
20         Infineon argues below that MACOM’s waiver of claims arising out of the IP
21   Purchase and License Agreements covers tort claims against Infineon AG, although
22   Infineon AG is not a party to the agreements. First, it is inconsistent for Infineon
23   AG to claim the benefits of the agreements for the purposes of a jury trial when it
24   has adamantly and successfully asserted it is not covered by the agreements for the
25   purposes of MACOM’s breach of contract claims (see Dkt. 583 at 74). Second, the
26   License Agreement expressly specifies that there are no third-party beneficiaries to
27   that agreement. See Dkt. 583-2 (License Agreement) at §10.5. Finally, and most
28   importantly, Infineon’s position is contrary to binding Ninth Circuit law. See
                                                 -3-
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 1   Paracor Fin., Inc. v. Gen. Elec. Capital Corp., 96 F.3d 1151, 1166 (9th Cir. 1996)
 2   (“[A] jury waiver is a contractual right and generally may not be invoked by one
 3   who is not a party to the contract.”). The jury trial waiver in Paracor was broad,
 4   similar to the one here, but that did not change the holding of that case. Infineon’s
 5   attempts to distinguish this case are therefore misplaced. And Infineon notably
 6   does not cite a single case in support of its argument regarding MACOM’s
 7   supposed waiver of jury trials for tort claims against Infineon AG (i.e., a company
 8   that got contract claims dismissed based on the argument that it was not a party to
 9   and not bound by the contracts).
10          Infineon argues that MACOM is “selectively” invoking its right to a jury
11   trial. If that means acknowledging that MACOM waived its right to a jury trial on
12   certain claims and can no longer demand a jury for those claims, but is still seeking
13   a jury trial on other claims where there has been no contractual waiver, that is
14   correct. But there is nothing untoward or inappropriate about MACOM seeking a
15   jury trial on claims for which there is no waiver.
16          MACOM recognizes that the Court, in lieu of resolving the estoppel issue at
17   this time, has proposed bifurcating validity issues to be tried separately after
18   completion of an initial trial on all other issues.3 To ensure that its jury demand for
19   the intentional interference claim does not stand in the way of such an approach,
20   MACOM is willing to waive its right to a jury on all issues relating to patent
21   validity only for its intentional interference claim against Infineon AG. For clarity,
22   MACOM does not otherwise waive its right to a jury trial for other issues relating
23   to its Eighth Claim for Relief against Infineon AG.
24          Thus, assuming the Court does not grant MACOM’s motion for summary
25   judgment on estoppel now, MACOM proposes a first trial on all issues other than
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     3
27       Infineon AG has raised invalidity defenses in response to the intentional
         interference claim against it, just as Infineon Americas has raised those defenses
28       in response to the contract claims against it.
                                                -4-
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 1   patent validity. At the first trial, the Court will render findings on all contract-
 2   related claims and the unfair competition claim, and the jury will render findings on
 3   the tort claims. Further, the first trial will introduce all facts and equities necessary
 4   to resolve the estoppel defense, and that issue presumably must be resolved at that
 5   juncture under the bifurcation approach contemplated by the Court.4
 6          If there is a judgment that estoppel applies after the first trial, there will be no
 7   need for a second trial. Only if MACOM prevails at the first trial and there is a
 8   judgment that estoppel does not apply will the parties then need to proceed to a
 9   second phase on invalidity. To the extent that second phase is needed, invalidity
10   can be tried to the Court, without a jury, based on MACOM’s agreement here.
11          Infineon suggests that there might be inconsistent rulings between the jury
12   and the Court during the first trial, since the intentional interference claim against
13   Infineon AG is premised on a breach of contract. This does not create a significant
14   procedural hurdle. To the extent the Court finds no breach of contract, whether at
15   the trial or afterwards, the jury’s findings on the tortious interference claim are
16   mooted.5 Alternatively, the Court could use the jury verdict as an advisory ruling
17   for the breach of contract claims.
18          MACOM respectfully submits that its proposal above is the most efficient
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20   4
         The estoppel issue will remain in the case even if MACOM’s motion for summary
21       judgment is denied. A denial at this stage would mean only that MACOM has
         not yet established the defense on the written record submitted to date, not that it
22       is precluded from doing so at trial.
     5
23       Infineon also points out that MACOM did not demand a jury in its initial
         complaint and cites to Federal Rule 38. But the law in this jurisdiction is that
24       MACOM is entitled to rely on Infineon’s jury demand. See, e.g., California
         Scents v. Surco Prods., Inc., 406 F.3d 1102, 1105-09 (9th Cir. 2005) (collecting
25       law and holding that plaintiff was entitled to rely on defendants’ jury demand in
26       defendants’ counterclaim); Fuller v. City of Oakland, 437 F.3d 1522, 1530-31
         (9th Cir. 1995). And Infineon’s jury demands here included a request for a jury
27       on issues triable to a jury—necessarily including the intentional interference
         claim. See Dkt. 291 at 37, Dkt. 292 at 40, Dkt. 302 at 49, Dkt. 326-0 at 63, Dkt.
28       459 at 41, Dkt. 461 at 67 (all demanding a trial by jury on all issues so triable).
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 1   way to proceed if the Court does not grant MACOM’s motion for summary
 2   judgment now.
 3   C.      Defendants’ Position
 4           All claims that are currently pending and not stayed should be tried to the
 5   bench and not a jury. The Seventh Amendment is not without limits. The parties are
 6   in agreement that Plaintiffs are not entitled to a jury trial on their ninth claim (unfair
 7   competition) because there is no right to a jury trial under California law because the
 8   claim is equitable in nature. And the parties also have agreed in this case that the
 9   contractual jury trial waivers govern Plaintiffs’ claims.6 The parties’ dispute is over
10   the scope of the jury waiver in the agreements at issue. Plaintiffs contend the waivers
11   are limited to their contract claims against Infineon Americas and that only those
12   claims (and the unfair competition claim) will be tried to the bench. Defendants
13   contend that the waivers extend to Plaintiffs’ intentional interference claim against
14   Infineon AG as well.
15           Under their plain terms, the jury waivers extend beyond Plaintiffs’ contract
16   claims and also encompass Plaintiffs’ intentional interference claim. The waivers
17   themselves (which are virtually identical) broadly state:
18
19
20
21   Dkt. 583-1 (IP Purchase Agreement) at §12.02; Dkt. 583-2 (License Agreement) at
22   §10.10.      Plaintiffs’ claim for intentional interference with the agreements
23   undoubtedly constitutes
24
     6
25        Plaintiffs made no jury demand until their Fourth Amended Complaint, in which
          Plaintiffs’ jury demand is limited to claims “for which a trial by jury has not been
26        waived by contract.” Dkt. 583 at 73. Thus, in their jury demand, Plaintiffs
          concede that they are abiding by the contractual waiver in the License Agreement.
27   7
          The word “License” appears in the License Agreement and the “l” in “law” is
28        capitalized in the License Agreement. The jury waivers are otherwise identical.
                                                 -6-
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 1                                                    Plaintiffs do not dispute that the express
 2   language of the jury waivers encompass their intentional interference claim.
 3          Relying on Paracor, Plaintiffs argue that Infineon AG cannot invoke the jury
 4   waivers because Infineon AG is not a party to the agreements. But Infineon AG is
 5   not invoking the jury waivers. Rather, Plaintiffs invoked the jury waivers. For
 6   instance, Plaintiffs’ jury demand is limited to claims “for which a trial by jury has
 7   not been waived by contract.” Dkt. 583 at 73. What Plaintiffs want is to selectively
 8   invoke the jury waivers to their advantage as to some claims and avoid their
 9   application as to other claims. Paracor provides no support for such piecemeal
10   application of a jury waiver. Having invoked the jury waivers, Plaintiffs cannot
11   narrowly apply them to only some claims arising out of the agreements (breach of
12   contract) but not other claims arising out of the same agreements (intentional
13   interference).8 By their express terms, the waivers cover
14                                                                                 . Thus, the
15   waivers are not limited to contract claims and are not limited to claims against parties
16   to the agreements. Plaintiffs’ intentional interference claim clearly falls within the
17   scope of the jury waivers.
18          Recognizing that the jury waivers encompass their intentional interference
19   claim, Plaintiffs made no demand for a jury trial on their intentional interference
20   claim when they first pleaded it over two years ago. Dkt. 1. This failure to demand
21   a jury trial itself constitutes a waiver. “A party waives a jury trial unless its demand
22   is properly served and filed.” Fed. R. Civ. P. 38(d). A jury demand must be made
23   no later than 14 days “after the last pleading directed to the issue is served.” Fed. R.
24   Civ. P. 38(b)(1). To excuse their failure to make any jury demand, Plaintiffs now try
25
26   8
         As a practical matter, having the contract claims tried to the bench while a jury
27       decides the tortious interference claim raises the potential for inconsistent fact
         findings with respect to the common element of whether there was any breach of
28       the contracts.
                                                -7-
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 1   to shift focus to Defendants’ jury demand. But Defendants did not demand a jury
 2   trial on Plaintiffs’ intentional interference claims. Defendants requested a jury trial
 3   “on all issues so triable.” Dkts. 291, 292. Given that Defendants’ patent infringement
 4   counterclaims have now been stayed by stipulation and given the broad scope of the
 5   contractual jury waiver, there are no remaining issues in the case triable by a jury to
 6   which Defendants demand could apply.
 7         With respect to Plaintiffs’ discussion of potential bifurcation of the validity
 8   issues, Defendants respectfully note that Plaintiffs’ proposal would be unworkable
 9   as the invalidity issues are inextricably bound together with the contract issues—in
10   other words, the Court cannot resolve the breach-of-contract allegations without first
11   addressing the invalidity disputes. In addition, it would be improper to try damages
12   for these claims before Defendants can present their invalidity defenses to those
13   claims. Plaintiffs’ proposal—that they can try intentional interference to a jury and
14   force Infineon AG to try its invalidity defense to that same claim in a separate bench
15   trial—is grossly unfair. Defendants reserve their rights to fully brief the propriety of
16   bifurcation as Defendants did not understand the Court’s order regarding this report
17   to call for such briefing.
18
      Dated: July 31, 2018
19
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